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UNlTED sTATEs or AMERICA
vs.
No. 04~20079
MARK sTRAIGHT,

Defendant.

 

ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before this Honorable Court is Defendant Mark Straight’s Motion to extend the
time period for him to surrender to the Bureau of Pn`sons. Based upon the statements of
counsel and the record herein, the Court finds the motion well-taken;

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that
Defendant’s request to extend the surrender date is GRANTED. Defendant report

directly to the specified designation with the Bureau of Prisons on
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Uni d States District Court Judge McCa]la

   

 

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UNITED sTEsAT DISTRICT COURT - WESTRE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20079 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

